                               Case 1:18-cv-00367-SGB Document 13 Filed 07/27/18 Page 1 of 5


                                                                                   onfGfzuA["
          l|n tbp @nite! Ststpd gi,ll, ot feDerut
                                                                                                      Filed: July 27,2018
                                                                                                                                                                  ffig
                                                                                                                                                                   JUL 2   i    2018
*    {.   *   t(   * :t *   :* :}   * * * * * *,t   {( {.   ***   {',1' r'   :i.   :t   *,k   *!   * * *,k * * * * * *           *
                                                                                                                                                                  U.S. COURT OF
                                                                                                                                                                 FEDERAL CLAIMS

                                                                                                                                      Rules ofthe United States Court      of
ERIC EMANUEL TAYLOR,
                                                                                                                                          Federal Claims ("RCFC") 8(e)
                       Plaintiff, pro se,                                                                                                 (Construing Pleadings), l2(b)( I )
                                                                                                                                         (Motion To Dismiss), 60(c)
                                                                                                                                         (Motion for Relief from Judgment);
                                                                                                                                      28 U.S.C. $ 453;
THE UNITED STATES,
                                                                                                                                      U.S. CoNSr. art. II $ 1, cl. 8; art. VI, cl.
                                                                                                                                         3; amend. VI.
                       Defendant.


,t   rr*
              't   t {.:**:l*{.**'t           ****+t          **     ,k   *********                      {. {.   **   ,t   *   {"1.



Eric Emanuel Taylor, Portsmouth, Virginia, Plaintiff, pro                                                                                 se.


David M, Kerr, United States Department of Justice, Civil Division, Washinglon, D.C., Counsel
for the Govemment

                                                      MEMORANDUM OPINION AND FINAL ORDER

BRADEN, Senior Judge.

I.                     BACKGROUND AND PROCEDURAL HISTORY.'

        In 2006, Mr. Eric Taylor was convicted of unlawful wounding in Virginia and received a
five-year suspended sentence. See Taylor v. United States, 130 Fed. Cl.570,571(Fed. Cl.20l6).

        In 2016, Mr. Taylor filed a Complaint in the United States Court of Federal Claims for
alleged violations of 42 U.S.C. $ 1983, the Fifth and Fourteenth Amendments of the United States
Constitution, and for unjust conviction and imprisonment arising from his 2006 conviction and
sentencing. Id

        On August 1,2016, the court issued an Order Of Dismissal after determining it did not
have jurisdiction to adjudicate Mr. Taylor's aforementioned claims. 1d On November 9,2016,
the United States Court of Appeals for the Federal Circuit affirmed the August 1, 2016 Order of


         rThe relevant facts discussed herein were derived from the March 7, 2018 Complaint
(*3/7 /tg Compl.").




                                                                                            ]L?qh '{}Bh
                                                                          ?01,? l,tls0 0000
             Case 1:18-cv-00367-SGB Document 13 Filed 07/27/18 Page 2 of 5



Dismissal. See Taylor v. United States, 666 F. App'x. 896,897 (Fed. Cir. 2016). The United
States Supreme Court denied certiorari on March 20,2017. See Taylor v. United States,137 S.
Ct. 1347 (Mem).

        On March 7, 2018, Mr. Taylor filed a new Complaint in the United States Court of Federal
Claims alleging that the August l, 2016 Order Of Dismissal, the November 9, 2016 decision
affirming the dismissal, and the March 20,2017 denial of certiorari violated Mr. Taylor's Sixth
Amendment rights, breached contracts arising from various oaths ofoffice, and caused damage to
his reputation, along with pain and suffering. 3 /7 I 1 8 Compl. at 2-3.

         On April 3, 2018, Mr. Taylor filed a Motion For Mandamus And Prohibition, requesting
that: (1) the court list the United States as both Plaintiffand Defendant in this action; (2) the court
order the Clerk to correct the amount of compensatory damages to "a zillion" dollars, instead ofa
million dollars; and (3) the record be revised to show that Mr. Taylor never filed a motion to seal
this case. 4/3/18 Motion For Mandamus at 2. On April 17, 2018, the Government filed a Response
To Plaintiff s Motion For Mandamus And Prohibition. 4117118 Resnonse To Motion For
Mandamus.

        On that date, the Govemment also filed a Motion To Dismiss Or, In The Altemative,
Response to  Plaintiff s Motion For Relief From This Court's August 1, 2016 Judgment ("Gov't
Mot."), because the United States Court ofFederal Claims does not have jurisdiction to adjudicate
Mr. Taylor's claims. Gov't Mot. at 1.

       On May 17,2018, Mr. Taylor filed a Motion To Strikc Defendant's Response, that the
court construes as a Response to the Govemment's April 17, 2018 Motion To Dismiss2 1"P1.
Resp.").

        On May 23,2018, the Government filed a Reply          ("Gov't Reply").

II.     DISCUSSION.

        A.       Jurisdiction.

        The court must consider jurisdiction as a threshold matter before reaching the substantive
merits of acase. See Gonzalez v. Thaler,565 U.S. 134, 141 (2012) ("When a requirement goes to
subjeclmatter jurisdiction, courts are obligated to consider saa sponle issues that the parties have
disclaimed or have not presented."). The United States Court of Federal Claims has jurisdiction
under the Tucker Act "to renderjudgment upon any claim against the United States founded either
upon the Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or unliquidated
damages in cases not sounding in tort." 28 U.S.C. $ 1a91(a)(1). The Tucker Act, however, is "a
jurisdictional statute; it does not create any substantive right enforceable against the United States
for money damages . . . . [T]he Act merely confers jurisdiction upon [the United States Court of


        2
            Because the court construes the March   17   ,2018 filing   as a   Complaint, the court does not
consider the Govemment's alternative arsument.
          Case 1:18-cv-00367-SGB Document 13 Filed 07/27/18 Page 3 of 5



Federal Claims] whenever the substantive right exists." United States     t.   Testan,424 U.S.392,
398 fl976).

        To pursue a substantive right under the Tucker Act, a plaintiff must identify and plead an
independent contractual relationship, Constitutional provision, federal statute, or executive agency
regulation that provides a substantive right to money damages. See Todd v. United States, 386
F.3d 1091, 1094 (Fed. Ct.2004) ("[J]urisdiction under the Tucker Act requires the litigant to
identifr a substantive right for money damages against the United States separate from the Tucker
Act[.]"); see also Fisher v. United States, 402 F.3d 1167 , 1172 (Fed. Cir. 2005) (en banc) ("The
TuckerAct...doesnotcreateasubstantivecauseofaction;...aplaintiffmustidentifyaseparate
source of substantive law that creates the right to money damages. . . . [T]hat source must be
'money-mandating."'). Specifically, a plaintiff must demonstrate that the source of substantive
law upon which he relies "can fairly be interpreted as mandating compensation by the Federal
Govemment[.]" Testan,424U.S. at 400. The plaintiffbears the burden ofestablishingjurisdiction
by a preponderance ofthe evidence. See Reynolds v. Army&Air Force Exch. Serv.,846 F .2d 746,
748 (Fed. Cir. 1988) ("[O]nce the [trial] court's subject matter jurisdiction [is] put in
question. . . [the plaintiffl bears the burden of establishing subject matter jurisdiction by a
preponderance of the evidence.").

       B.      Standard Of Review For Pro Se Litigants.

        Pro se plaintiffs' pleadings are held to a less stringent standard than those of litigants
represented by counsel. See Haines v. Kerner,404 U.S. 519,520 (1972) (holding that pro se
complaints, "however inartfully pleaded," are held to "less stringent standards than formal
pleadings drafted by lawyers"). This court traditionally examines the record "to see if [a pro se]
plaintiff has a cause of action somewhere displayed." Ruderer v. United States, 412 F.2d' 1285,
 1292 (Ct. Cl. 1969). Nevertheless, while the court may excuse ambiguities in a pro se plaintiff s
complaint, the court "does not excuse [a complaint's] failures." Henke v. United States,60F.3d
795,799 (Fed. Cir. 1995). A pro se plaintiff must still establish the court's jurisdiction. See
Tindle v. United States,56 Fed. Cl. 337,341(Fed. Cl. 2003) ("The fact that plaintiffis proceeding
pro se, however, does not change the ultimate legal standard and plaintiffs burden of proof on
subject matter j urisdiction.").

       C.      Standard For Motion To Dismiss Under RCFC 12(bxl).

        A challenge to the United States Court ofFederal Claims' "general power to adjudicate in
specific areas of substantive law            is properly raised by a [Rule] 12(bxl) motion[.]"
Palmer v. United States,168 F.3d 1310, 1313 (Fed. Cir. 1999); see aiso RCFC l2(b)(i) ("Every
defense to a claim for relief in any pleading must be asserted in the responsive pleading . . . . But
a party may assert the following defenses by motion: (1) lack of subject-matter jurisdiction[.]").
When considering whether to dismiss an action for lack of subject matter jurisdiction, the court
"must accept as true all undisputed facts asserted in the plaintiffs complaint and draw all
           Case 1:18-cv-00367-SGB Document 13 Filed 07/27/18 Page 4 of 5



 reasonable inferences in favor ofthe   plaintiff."   Trusted Integration, Inc. v. United States,659 F.3d
 1159, 1163 (Fed. Cir. 2011).

        D,      The Government's April 17,2018 Motion To Dismiss,

         The March 7,2018 filing challenges the court's August 1,2016 Opinion And Order
 dismissing Mr. Taylor's prior Complaint and appears to seek relief from the judgment entered.
 3/7/18 Compl. at2. The March 7,2018 filing also includes allegations relating to various oaths of
 office,damagetoreputation,andpainandsuffering.3/7/18Compl.at2-3. RCFC 60(c) requires
 that a Motion For Relief From Judgment, pursuant to RCFC 60(b), be filed "no more than a year
 after the entry of the judgment or order[.]" RCFC 60(c). To timely file his Motion For Relief
 From Judgment, Mr. Taylor needed to file a Motion For Relief From Judgment no later than July
 31 ,2017 . Therefore, if the court construed the March 7, 201 8 filing as a Motion For Relief From
 Judgment, the filing would be untimely. Accordingly, the court construes Mr. Taylor's March 7,
 2018 filing as a Complaint, instead of a Motion For Relief From Judgment. See RCFC 8(e)
 (requiring the court to construe pleadings "so as to do justice.").

                1.     The Government's Argument.

          The Govemment argues that the United States Court of Federal Claims does not have
jurisdiction to adjudicate the claims alleged in the March 7, 2018 Complaint. Gov't. Mot. at 1.
This is so, because Mr. Taylor's claims are not rooted in a "money mandating" source of substantive
law, as Tucker Act jurisdiction requires. Gov't Mot. at 4. The Govemment adds that Mr. Taylor's
 Sixth Amendment claim "cannot combine with the Tucker Act to provide the court jurisdiction,"
because the Sixth Amendment is not money-mandating. Gov't Mot. at 4 (citing Milas v. Uniled
States,42 Fed. Cl. 704,710 (Fed. Cl. 1999)); see a/so U.S. CoNsr. amend. VI. In addition, the
Government argues that the Sixth Amendment is only applicable in criminal prosecutions, that are
not within the jurisdiction of the United States Court of Federal Claims. Gov'tMot.at5.

                2.     Plaintiff   s Response.

        Plaintiff responds that the court "does have power to render judgement upon any claim
against the U.S. for the unliquidated damages not sounding in tort," and that denying subject matter
jurisdiction in his case would be unconstitutional, because a court that hasjurisdiction to adjudicate
his case is constitutionally compelled to do so. Pl. Resp. at 2.

                3.     The Court's Resolution.

         The Tucker Act is a jurisdictional statute that confers jurisdiction upon the United States
 Court of Federal Claims when a substantive right exists. Testan, 424 U.S. at 398. As a threshold
 matter, subject-matter jurisdiction under the Tucker Act requires that the substantive source oflaw
 for a plaintifls claim be "money-mandating." Fi"her,402 F.3d at 1172. The Sixth Amendment
 guarantees rights of those prosecuted in criminal proceedings, but is not "money mandating." 'See
 Milas, 42 Fed. Cl. at 710 ("[T]he Fifth and Sixth Amendments are not money mandating and,
 consequently, cannot combine with the Tucker Act to provide the court jurisdiction[.]"). For this
 reason, the court has determined that it does not have jurisdiction to adjudicate the Sixth
 Amendment claims alleeed in the March 7. 2018 Complaint.
          Case 1:18-cv-00367-SGB Document 13 Filed 07/27/18 Page 5 of 5



         The March 7,2018 Complaint also alleges that the Govemment's treatment of Mr. Taylor
during the course ofhis 2016 suit breached contracts arising from 28 U.S.C. $ 453, Article Two,
Section One, Clause Eight ofthe Constitution, and Article Six, Clause Three of the Constitution,
i.e., the Judicial Oath of Office, the Presidential Oath of Office, and the Congressional Oath of
Office, respectively. 3/7118 Compl. at 3. Ordinarily, a breach of contract claim against the
Govemment is a money-mandating source. See Holmes v. United States, 657 F.3d 1303, 13 14
(Fed. Cir. 2011) ("[W]hen a breach of contract claim is brought in the Court of Federal Claims
under the Tucker Act, the plaintiff comes armed with the presumption that money damages are
available[.]"). An oath ofoffice, however, is not a contract, and in any event, claims arising from
the alleged failure to abide by that oath sound in tort. The United States Court of Federal Claims
does not have jurisdiction to adjudicate claims "sounding in tort." 28 U.S.C. g 1491(a)(l). In
addition, even if the oaths of office at issue could be construed as contracts, the March 7,2018
Complaint does not allege the elements ofa contract, i.e., "a mutual intent to contract including an
offer, acceptance, and considerati on." Trauma Serv. Group v. United States,104 F.3d 1321, 1325
(Fed. Cir. 1997); see also Nalette v. United States, 72 Fed. Cl. 198,202 (Fed. Cl. 2006)
(determining that claims alleging the breach of an oath ofoffice sound in tort). For these reasons,
the court has determined that it does not have iurisdiction to adiudicate Mr. Tavlor's breach of
contract claims.

        The March 7, 201 8 Complaint's claims for damage to reputation and for pain and suffering
also sound in tort. See llalsh v. United States,250 F. App'x. 310, 3l I (Fed. Cir. 201 I ) (holding
that the United States Court of Federal Claims does not have jurisdiction to adjudicate claims for
defamation and pain and suffering, because they sound in tort). For these reasons, the court has
determined that it does not have jurisdiction to adjudicate the claims for damage to Mr. Taylor's
reputation and for pain and suffering alleged in the March 7, 2018 Complaint.

        Finally, the United States Court ofFederal Claims does not have jurisdiction to issue a writ
of mandamus. See Del Rio v. United States,87 Fed. Cl. 536, 540 (Fed. Cl. 2009) ("The authority
to issue a writ of mandamus rests with the district courts. . . .The Court of Federal Claims lacks
jurisdiction to hear mandamus petitions."). Accordingly, this court need not address the arguments
discussed in Mr. Taylor's April 3, 2018 Motion For Mandamus or the Government's April 17,
2018 Response.

ilI.   CONCLUSION.

       For these reasons, the Govemment's April 27, 2018 Motion to Dismiss is granted. .See
RCFC l2(bXl). The Clerk is directed to dismiss the March 7, 2018 Complaint. All other pending
motions are denied as moot.

       IT IS SO ORDERED.


                                                      SU
